 Case 18-24911-CMG              Doc 7 Filed 07/29/18 Entered 07/30/18 00:51:10                       Desc Imaged
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Form 132 − 13sum

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 18−24911−CMG
                                         Chapter: 13
                                         Judge: Christine M. Gravelle

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Stephen Dana Kimball                                     Susan Gail Kimball
   40 Hillcrest Drive                                       40 Hillcrest Drive
   Great Meadows, NJ 07838                                  Great Meadows, NJ 07838
Social Security No.:
   xxx−xx−3325                                              xxx−xx−1706
Employer's Tax I.D. No.:


                            NOTICE OF HEARING ON CONFIRMATION OF PLAN


Date:                  9/19/18
Time:                  10:00 AM
Location:               Courtroom 3, Clarkson S. Fisher, U.S. Courthouse, 402 E. State St., Trenton, NJ 08608−1507

             An objection to confirmation of the plan, including any motions referenced therein to avoid judicial liens
under 11 USC section 522(f) and/or to avoid liens and reclassify claims in whole or in part, shall be filed and served
seven days before confirmation. Filing a motion for relief from the automatic stay will not be considered an objection
to the confirmation.

          If, at the confirmation hearing, it is determined that the debtor's plan is not confirmable, the case
may be dismissed or converted.
A copy of the Plan will follow this notice.




Dated: July 27, 2018
JAN: amg

                                                 Jeanne Naughton
                                                 Clerk, U. S. Bankruptcy Court
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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 18-24911-CMG
Stephen Dana Kimball                                                                                       Chapter 13
Susan Gail Kimball
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0312-3                  User: admin                        Page 1 of 2                          Date Rcvd: Jul 27, 2018
                                      Form ID: 132                       Total Noticed: 25


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 29, 2018.
db/jdb         +Stephen Dana Kimball,    Susan Gail Kimball,     40 Hillcrest Drive,
                 Great Meadows, NJ 07838-2214
517665147      +Auto Parts Plus,    351 Route 46 East,    Great Meadows, NJ 07838-2051
517665149      +Choice Energy,    4257 US Highway 9,    Suite 6C,    Freehold, NJ 07728-8310
517665151      +Citibank / Sears,    Po Box 6283,    Sioux Falls, SD 57117-6283
517665150      +Citibank / Sears,    Citicorp Credit Services/Attn: Centraliz,     Po Box 790040,
                 Saint Louis, MO 63179-0040
517665153      +Discover Personal Loan,    502 E Market St,    Greenwood, DE 19950-9700
517665154     #+Fein, Such, Kahn & Shepard, P.C.,     7 Century Drive,    Parsippany, NJ 07054-4673
517665156      +Financial Recoveries,    200 E Park Dr Ste 100,     Mount Laurel, NJ 08054-1297
517665155      +Financial Recoveries,    Po Box 1388,    Mount Laurel, NJ 08054-7388
517665159       Jaffe & Asher LLC,    600 Third Avenue,    New York, NY 10016-1901
517665160      +Liberty Township Tax Collector,    349 Mountain Lake Road,     Great Meadows, NJ 07838-2355
517665162      +Navient,   123 S Justison St Ste 30,     Wilmington, DE 19801-5360
517665163      +Remex Inc,   307 Wall St,    Princeton, NJ 08540-1515
517665165      +SRA Associates, Inc.,    401 Minnetonka Road,     Hi Nella, NJ 08083-2914
517665167     ++STATE OF NEW JERSEY,    DIVISION OF TAXATION BANKRUPTCY UNIT,     PO BOX 245,
                 TRENTON NJ 08646-0245
               (address filed with court: State of New Jersey,       Division of Taxation,
                 Compliance Activity/Bankruptcy,     PO Box 245,    Trenton, NJ 08695)
517665164       Specialized Loan Servicing LLC,    PO Box 636005,     Littleton, CO 80163-6005
517665166      +St. Luke’s Warren Hospital,    PO Box 5392,    Philadelphia, PA 19142-0392
517665169      +Valley National Bank,    1460 Valley Road,    Wayne, NJ 07470-8494

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Jul 27 2018 23:53:40       U.S. Attorney,    970 Broad St.,
                 Room 502,    Rodino Federal Bldg.,   Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Jul 27 2018 23:53:36       United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,    One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
517665152      +E-mail/Text: dplbk@discover.com Jul 27 2018 23:54:08       Discover Personal Loan,
                 Attention: Bankruptcy,    Po Box 30954,    Salt Lake City, UT 84130-0954
517665157      +E-mail/Text: lori.rudolph@atlantichealth.org Jul 27 2018 23:54:07
                 Hackettstown Regional Medical Center,    651 Willow Grove Street,    Hackettstown, NJ 07840-1797
517665158      +E-mail/Text: cio.bncmail@irs.gov Jul 27 2018 23:52:59       Internal Revenue Service,
                 2970 Market Street,    Mail Stop 5-Q30,133,    Philadelphia, PA 19104-5002
517665161      +E-mail/PDF: pa_dc_claims@navient.com Jul 28 2018 00:06:15       Navient,    Attn: Claims Dept,
                 Po Box 9500,    Wilkes-Barr, PA 18773-9500
517665168      +E-mail/Text: bankruptcydepartment@tsico.com Jul 27 2018 23:54:30       Transworld Systems Inc.,
                 5626 Frantz Road,    Dublin, OH 43017-2590
                                                                                               TOTAL: 7

              ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
517665148          Capital One
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 29, 2018                                            Signature: /s/Joseph Speetjens
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                             Form ID: 132                Total Noticed: 25

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 27, 2018 at the address(es) listed below:
              Albert Russo    docs@russotrustee.com
              Jonathan Stone    on behalf of Joint Debtor Susan Gail Kimball jonstonelaw@gmail.com,
               bkecf_stone@bkexpress.info;r43620@notify.bestcase.com
              Jonathan Stone    on behalf of Debtor Stephen Dana Kimball jonstonelaw@gmail.com,
               bkecf_stone@bkexpress.info;r43620@notify.bestcase.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                            TOTAL: 4
